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 7                           UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
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10   RUSSELL STEPHEN,                                    Case No.: 3:24-cv-00546-H-BLM
11                                      Plaintiff,
                                                         ORDER CONTINUING MOTION
12   v.                                                  HEARING DATES AND SETTING
                                                         BRIEFING SCHEDULE
13   NUTRA HOLDINGS, INC.; NUTRA
     HOLDINGS TWO, INC.; AMAZON,
14                                                       [Doc. No. 22.]
     INC.; and JOHN WILLIAMS,
15                                   Defendants.
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17         On June 10, 2024, the parties filed a joint motion to continue the hearing dates on
18   Defendant Amazon.com, Inc.’s (“Amazon”)1 motion to transfer venue, scheduled for
19   Monday, June 17, 2024, at 10:30 a.m. Pacific Time, and Amazon’s motion to dismiss,
20   scheduled for Monday, June 24, 2024, at 10:30 a.m. Pacific Time. (Doc. No. 22.) In the
21   joint motion, the parties represent that they are “engag[ing] in settlement discussions that
22   may result in an agreed-upon resolution of this matter.” (Id.) For good cause shown, the
23   Court grants the joint motion and orders as follows:
24         1.     The Court continues the hearing on Amazon’s motion to transfer venue to
25                Monday, September 9, 2024, at 10:30 a.m. Pacific Time.
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          Amazon has informed the Court that Plaintiff’s First Amended Complaint
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     improperly names Amazon.com, Inc. as “Amazon, Inc.” (Doc. No. 22.)

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 1        2.    Any reply in support of Amazon’s motion to transfer venue must be filed by
 2              July 29, 2024.
 3        3.    The Court continues the hearing on Amazon’s motion to dismiss to Monday,
 4              September 16, 2024, at 10:30 a.m. Pacific Time.
 5        4.    Any opposition to Amazon’s motion to dismiss must be filed by
 6              July 29, 2024.
 7        5.    Any reply in support of Amazon’s motion to dismiss must be filed by
 8              August 12, 2024.
 9        IT IS SO ORDERED.
10   DATED: June 10, 2024
11                                          MARILYN L. HUFF, District Judge
                                            UNITED STATES DISTRICT COURT
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